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1                                               THE HONORABLE LONNY R. SUKO

2    Emily Chiang, WSBA No. 50517
     La Rond Baker, WSBA No. 43610
3    AMERICAN CIVIL LIBERTIES UNION OF WASHINGTON FOUNDATION
     901 Fifth Avenue, Suite 630
4    Seattle, Washington 98164
     (206) 624-2184
5    echiang@aclu-wa.org, lbaker@aclu-wa.org
6    Brendan V. Monahan, WSBA No. 22315
     STOKES LAWRENCE VELIKANJE MOORE & SHORE
7    120 N. Naches Avenue
     Yakima, Washington 98901-2757
8
     (509) 853-3000
9    Brendan.Monahan@stokeslaw.com

10   Gregory Landis, WSBA No. 29545
     Cristin Kent Aragon, WSBA No. 39224
11   YARMUTH WILSDON PLLC
     1420 Fifth Avenue, Suite 1400
12
     Seattle, Washington 98101
13   Telephone: (206) 516-3800
     glandis@yarmuth.com, caragon@yarmuth.com
14
     Attorneys for Plaintiff, Bertha Aranda Glatt
15
                         UNITED STATES DISTRICT COURT
16                      EASTERN DISTRICT OF WASHINGTON

17   BERTHA ARANDA GLATT,                           Case No. 4:16-CV-05108-LRS

18               Plaintiff,                         MOTION FOR ENTRY OF
                 v.                                 PLAINTIFF’S PROPOSED
19                                                  REMEDIAL PLAN
     CITY OF PASCO, et al.,
20
                 Defendants.
21

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3      2015), http://www.yakimaherald.com/news/elections/new-yakima-city-council-
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1                              I.       INTRODUCTION

2          The City of Pasco (the “City”) deserves credit for recognizing that its at-

3    large election system “has excluded Latinos from meaningfully participating in the
4
     political process and diluted their vote such that Latinos are unable to elect
5
     candidates of their choice to the City Council.” Partial Consent Decree, at 9 (Dkt.
6
     16). After unsuccessfully attempting to change Washington state law to allow the
7
     City to enact an election system based on single-member districts and following
8

9    the filing of the Complaint by Plaintiff Bertha Aranda Glatt (“Plaintiff”), the City

10   agreed to a Partial Consent Decree in which the Court confirmed that Pasco’s
11   election system “unlawfully dilutes the Latino population’s vote in violation of
12
     Section 2 of the Voting Rights Act.” Id. at 11. 42 U.S.C. § 1973.
13
           The Court enjoined the City from “administering, implementing, or
14
     conducting future elections for the Pasco City Council under the current at-large
15

16   election method or any other election method that violates Section 2 of the Voting

17   Rights Act,” and ordered the parties to attempt to agree on an appropriate remedy

18   for the violation. Despite their efforts, the parties have been unable to agree on
19   such a remedy. Id. Therefore, Plaintiff respectfully requests the Court adopt her
20
     proposed remedy, as set forth herein.
21
           Plaintiff’s proposed remedial plan provides the lawfully mandated full, fair,
22
     and prompt relief necessary to remedy the finding of the Voting Rights Act
23

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1    violation on the part of the City. As described below, Plaintiff proposes a seven

2    single-member district election plan where three of the districts would be majority
3
     Latino and one district would be a Latino “influence district,” providing the Latino
4
     community rough proportionality in representation on the City Council. All seven
5
     seats under this plan would be up for election in the City’s 2017 election cycle.
6
     Plaintiff’s proposed remedy comports with traditional districting requirements
7

8    including compactness, one-person-one-vote, contiguity, and respects communities

9    of interest. It is, moreover, wholly consistent with this Court’s previous ruling in
10   Montes v. City of Yakima, No. 12-cv-3108, 2015 WL 11120964 (E.D. Wash., Feb.
11
     17, 2015). Without the full and prompt relief afforded by this remedy, the Latino
12
     community in Pasco will continue to suffer the ill effects of vote dilution Section 2
13
     was designed precisely to prohibit.
14

15                             II.        BACKGROUND

16   A.    A Growing Latino Community Has Been Unable to Obtain
           Representation on the Pasco City Council
17
           Despite significant demographic shifts in the past three decades, which have
18
     seen Pasco’s Latino population grow to 54.02% and 30.02% Latino citizen voting
19
     age population (“LCVAP”), no Latino has ever won a contested election for a seat
20

21

22

23

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1    on the City Council. 1 Cooper Decl. at ¶43; Engstrom Decl. at ¶¶17-24, 30; Dkt. 16

2    at 6. Not even Latinos who ran with the benefit of incumbency, after having been
3
     appointed to their seats, have won a contested election.2 Dkt. 16 at 7-8. This
4
     deficiency is the direct result of the City’s use of at-large elections combined with
5
     racially polarized voting, which the City has admitted constitutes a violation of
6
     Section 2 of the Voting Rights Act.
7

8             The lack of meaningful representation on the City Council is not the result of

9    disinterest on the part of the Latino community, which has repeatedly produced
10   and supported candidates for office. Engstrom Decl. at ¶¶17-24. Rather, as
11
     reflected in the most recent election in 2015, Latino candidates for City Council
12
     lose because of racially polarized voting in contests for at-large seats that require a
13
     majority of the city voters’ approval to win. See generally Engstrom Decl. This
14

15   dynamic exists because both Latino and white voters in Pasco are politically

     1
16       Citizen voting age population is defined as residents of a jurisdiction that are
17   legally able to vote, i.e. are citizens of voting age. In Pasco, the Latino population
18
     is larger than the Latino Citizen Voting Age Population (“LCVAP”) because the
19
     Latino population is fairly young, comprising approximately 65.8% of the under-
20
     eighteen population. Cooper Decl. at 4, Fig. 1.
21
     2
22       Luisa Torres was appointed to the Pasco City Council in 1989. Ms. Torres “ran

23   for election in 1989 but was defeated by a non-Latino candidate.” Dkt. 16 at 7.

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1    unified and vote cohesively as blocs—and because “[t]he majority of voters in

2    Pasco are white and have historically engaged in bloc voting favoring non-Latino
3
     candidates” or Latino candidates of choice. Dkt. 16 at 7; see generally Engstrom
4
     Decl. These two factors—bloc voting that is racially polarized, and an election
5
     system that requires a majority of the City’s voters to win a seat on the Council—
6
     make it statistically impossible for a Latino candidate or Latino candidate of choice
7

8    to be elected to the Pasco City Council in a contested election. Dkt. 16 at 7;

9    Engstrom Decl. at ¶¶17-24, 30.
10         The impact on the Latino community of not having meaningful
11
     representation on the City Council in the form of candidates of their choice is
12
     significant. As the City concedes, under ‘“the totality of the circumstances’
13
     analysis, there is sufficient evidence of disparities to show inequality in
14

15   opportunities between the white and Latino populations and that the existing at-

16   large election system has excluded Latinos from meaningfully participating in the

17   political process,” resulting in a violation of Section 2 of the Voting Rights Act.
18   Dkt. 16 at 8.
19
     B.    Pasco and Plaintiff’s Collaborations Aimed at Remedying the Section 2
20         Violation

21         In hopes of finding common ground to remedy the Section 2 violation in a

22   timely manner and provide a complete remedy that protects the rights of the Latino
23   community, Plaintiff consulted with the City of Pasco for almost six (6) months
24
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1    before filing this lawsuit. See Baker Decl. Ex. A. The City’s violation of federal

2    law was sufficiently clear that the City agreed to enter into a partial consent decree,
3
     which the Court entered on September 2, 2016. Dkt. 16.
4
           Plaintiff filed this lawsuit against the City on August 4, 2016. Dkt. 1. Less
5
     than a month later, after a series of negotiations, the Court entered a Partial
6
     Consent Decree on September 2, 2016 to avoid “protracted, costly, and potentially
7

8    divisive litigation” and because the “defense [of this matter was] not likely . . . in

9    the interest of the public.” Dkt. 16 at 9. In the Partial Consent Decree, the City
10   admitted its current election system violated Section 2 of the Voting Rights Act.
11
     Additionally, the parties agreed to “in good faith efforts, meet and confer no later
12
     than September 15, 2016, to determine whether the Parties can agree upon a
13
     remedial option for Compliance with Section 2 of the Voting Rights Act.” Id. at
14

15   11. If the parties could not reach agreement, the Partial Consent Decree ordered

16   them to file initial briefs with the Court on or before October 15, 2016 regarding

17   their respective proposed remedial plans. Id.
18         On September 15, the Parties met in person to discuss possible remedial
19
     options, but attorneys for the City were unable to commit the City to any particular
20
     remedial plan. Plaintiff’s counsel described their proposed remedy—full and
21
     immediate implementation of a seven single member district plan—and offered to
22

23   provide factual and legal points supporting that remedy for the benefit of the

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1    Council deliberations scheduled to take place shortly after the meeting. Baker

2    Decl. Ex. B. On September 19, 2016, the Council voted 5-1 in favor of a “hybrid”
3
     election system comprised of six single-member districts and one at-large seat.
4
                                III.      ARGUMENT
5
     A.    This Court Owes Deference to Defendant’s Proposed Remedy Only if
6          that Remedy Provides Full and Complete Relief

7          The Supreme Court has directed district courts to fashion remedies for

8    discriminatory practices that completely “eliminate the discriminatory effects of
9
     the past as well as bar like discrimination in the future.” United States v. Paradise,
10
     480 U.S. 149, 183-84 (1987). As such, when a Section 2 violation has been
11
     established, “[t]he court should exercise its traditional equitable powers to fashion
12
     the relief so that it completely remedies the prior dilution of minority voting
13

14   strength and fully provides equal opportunity for minority citizens to participate

15   and to elect candidates of their choice.” Dillard v. Crenshaw Cnty., Ala., 831 F.2d
16   246, 250 (11th Cir. 1987) (internal quotation marks omitted). Further, rough
17
     proportionality is relevant when determining “‘whether members of a minority
18
     group have less opportunity than other members of the electorate to participate in
19
     the political process and to elect representatives of their choice.’” Montes, 2015
20

21

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1    WL 11120964, at *8 (quoting Johnson v. De Grandy, 512 U.S. 991, 1000 (1994)).3

2             To remedy a Section 2 violation, the district court “must, wherever
3
     practicable, afford the jurisdiction an opportunity to remedy the violation first, . . .
4
     with deference afforded the jurisdiction’s plan if it provides a full, legally
5
     acceptable remedy . . . . But if the jurisdiction fails to remedy completely the
6
     violation or if a proposed remedial plan itself constitutes a § 2 violation, the court
7

8    must itself take measures to remedy the violation.” Dickinson v. Ind. State

9    Election Bd., 933 F.2d 497, 501 n.5 (7th Cir. 1991) (citation and quotation marks
10   omitted). Because a full remedy that eliminates all discriminatory effects must be
11
     imposed after a finding of a Section 2 violation, a district court “need not defer to a
12
     state-proposed remedial plan . . . if the plan does not completely remedy the
13
     violation or if the plan itself violates section 2 of the Act.” Harvell v. Blytheville
14

15   Sch. Dist. No. 5, 126 F.3d 1038, 1040 (8th Cir. 1997). See also Large v. Fremont

16   Cnty., 670 F.3d 1133 (10th Cir. 2012); Garza v. Cnty. of Los Angeles, 918 F.2d

17   763, 776 (9th Cir. 1990); United States v. Brown, 561 F.3d 420, 435 (5th Cir.
18   2009); Dickinson, 933 F.2d at 501 (7th Cir. 1991).
19
     3
         The Supreme Court has noted that rough proportionality is relevant even though
20
     an acceptable remedy “need not maximize the electoral opportunities of a minority
21

22   group.” Johnson, 512 U.S. at 1017.

23

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1    B.       This Court Owes No Deference to Defendants’ Proposed 6-1 Election
              Plan Because it Fails to Provide a Full and Complete Remedy to the
2             City’s Admitted Section 2 Violation
3             The City Council voted on September 19, 2016 to implement a 6-1 remedial
4
     election plan. Under this plan, six (6) City Council members would be elected via
5
     single-member districts and one City Council member would be elected at-large.
6
     Baker Decl. Ex. C. In the City’s proposed 6-1 system there would be three (3)
7
     majority Latino districts.4 Id. Such a plan would not provide a full and complete
8

9    remedy of the City’s admitted Section 2 violation because the same racially

10   polarized voting and resultant discriminatory impact that created the Section 2
11   violation—when all seven City Council seats were elected at-large—remains a
12
     problem even when just one seat is elected at large. See Engstrom Decl. at ¶30;
13
     Cooper Decl. at ¶¶56-63.
14
              “[T]he Supreme Court has directed the use of single-member districts [to
15

16   remedy Section 2 violations unless there are compelling reasons not to use them.”

17   Montes, 2015 WL 11120964, at *9 (citing Chapman v. Meier, 420 U.S. 1, 27

18   (1975)). It has done so because an at-large election system effectively “converts
19
     4
         As of the filing of this brief, Defendants have not informed Plaintiff whether the
20
     City will advocate for full implementation by placing all seven seats for the City
21

22   Council up for election in 2017, or instead propose staggered implementation

23   where only a portion of the City Council seats will be up for election in 2017.

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1    each of the seven city council seats to a city-wide majority-takes-all election, has

2    the effect of denying Latinos the equal opportunity to participate in the political
3
     process and to elect candidates of their choice.” Id. at *2. Because at-large
4
     elections that require a majority of votes to win will dilute a minority population’s
5
     vote where there is substantial racially polarized voting (as the City concedes
6
     exists in Pasco), vote dilution claims are typically remedied by replacing all at-
7

8    large elections with a single-member districting plan that gives minority voters a

9    majority in one or more districts. Indeed, this plan is precisely what this Court
10   imposed in Yakima just last year. See id. at *9-10.
11
           The fact that Defendants have proposed a plan that incorporates only one at-
12
     large seat as compared to four, three, or two at-large seats does not mean that the
13
     plan is a full and complete remedy of the Section 2 violation. Neither is the City
14

15   saved by the fact that its plan includes three majority Latino districts. The plan

16   remains an inadequate Section 2 remedy because the use of any at-large seat in

17   Pasco, where significant racially polarized voting occurs, will preclude Latino
18   voters from meaningful participation in electing that seat. Where, as in Pasco, at-
19
     large elections accompanied by racially polarized voting have already been found
20
     to violate Section 2, the at-large elections should be replaced completely—not just
21
     partially—with district-based elections.
22

23

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1             The at-large seat in Defendants’ proposed 6-1 plan continues the

2    discriminatory impact of the previous unlawful plan. The City of Pasco has
3
     conceded that “[t]he majority of voters in Pasco are white and have historically
4
     engaged in bloc voting favoring non-Latino candidates.” Dkt. 16 at 7. The City
5
     has also admitted that this “pattern of racially polarized voting” has made it “very
6
     difficult for the Latino community to elect candidates of their choice.” Dkt. 16 at
7

8    7. Defendants’ proposed 6-1 plan is would continue this pattern for the remaining

9    at-large seat.
10            Based on the City’s admissions, which include a finding of racially polarized
11
     voting, the maintenance of any at-large seat will continue the dilution of the Latino
12
     vote.5 Engstrom Decl. at ¶30. This continued vote dilution and the concomitant
13
     discriminatory abridgement of the Latino vote cannot be deemed to constitute a
14

15   full remedy of the Section 2 violation underpinning these proceedings and admitted

16   to by Defendants.

17   5
         Racially polarized voting is particularly problematic in jurisdictions that utilize a
18
     “place system” (as Pasco does and as Washington State law requires) where “seats
19
     on the city council are elected separately, in combination with the majority vote
20
     rule for general elections that results from the ‘top two’ primary[.]” Engstrom
21

22   Decl. at ¶¶7-9. The at-large system utilized by the City “permits a majority group

23   to control the outcome of the election in each [at-large] place.” Id. at ¶27.

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1    C.       Plaintiff’s Seven Single-Member District Plan is a Full and Effective
              Remedy of the Section 2 Violation
2
              In the absence of a valid legislative plan, the court must impose a plan that
3
     meets constitutional and Voting Rights Act standards.6 Montes, 2015 WL
4

5    11120964, at *9. In determining the appropriate remedial plan, this Court should

6
     6
7        When a jurisdiction’s plan fails to appropriately and adequately remedy a Section

8    2 violation, courts have often adopted Plaintiff’s proposed remedial plans as the
9    appropriate remedy in Voting Rights Act cases. See, e.g., Large v. Fremont Cnty.,
10
     Wyo., 670 F.3d 1133, 1136, 1148 (10th Cir. 2012) (affirming district court’s
11
     “reject[ion] [of] the Board’s proposal in favor of a plan with five single-member
12
     districts, as initially proposed by the Appellees”); Harvell, 126 F.3d at 1042
13

14   (affirming district court’s adoption of plaintiff’s plan); United States v. Dallas

15   Cnty. Comm’n, Dallas Cnty., Ala., 850 F.2d 1433, 1443 (11th Cir. 1988) (directing

16   district court to adopt plaintiffs’ plan); United States v. Osceola Cnty. Fla., 474 F.
17   Supp. 2d 1254, 1256 (M.D. Fla. 2006) (approving “United States Proposed
18
     Remedial Plan 2”); Dillard v. Crenshaw Cnty., 649 F. Supp. 289, 298 (M.D. Ala.
19
     1986) (requiring implementation of plaintiffs’ plan); see also League of United
20
     Latin Am. Citizens, Council No. 4836 v. Midland Indep. Sch. Dist., 648 F. Supp.
21

22   596, 598 (W.D. Tex. 1986) (adopting two minority districts as drawn by plaintiffs

23   and allowing defendants “to draw the remaining single-member district lines”).

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1    follow the “longstanding general rule that single-member districts are to be used in

2    judicially crafted redistricting plans.” Citizens for Good Gov’t v. City of Quitman,
3
     Miss., 148 F.3d 472, 476 (5th Cir. 1998); see also Wise v. Lipscomb, 437 U.S. 535,
4
     540 (1978) (“[A] court-drawn plan should prefer single-member districts over
5
     multimember districts, absent persuasive justification to the contrary.”).
6
           Any other remedies—including hybrid election systems of the type the City
7

8    proposes here—are disfavored: “absent unusual circumstances, ‘single member

9    districts are the preferred remedy where a violation of voting rights has been
10   found.’” Williams v. City of Texarkana, Ark., 861 F. Supp. 771, 772 (W.D. Ark.
11
     1993) (citing East Carroll Parish Sch. Bd. v. Marshall, 424 U.S. 636, 639 (1976));
12
     Chapman, 420 U.S. at 2).
13
           This long-standing practice stems from the recognition that the “practice of
14

15   multimember districting can contribute to voter confusion, make legislative

16   representatives more remote from their constituents, and tend to submerge electoral

17   minorities and overrepresent electoral majorities.” Connor v. Finch, 431 U.S. 407,
18   415 (1977). Unless the Court can articulate a “singular combination of unique
19
     factors” that justifies abandonment of this clear preference, Mahan v. Howell, 410
20
     U.S. 315, 333 (1973), the Court should impose the single-member districts
21
     requested herein.
22

23

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1             Plaintiff’s Proposed Remedial Plan provides a full and complete remedy to

2    the City of Pasco’s Voting Rights Act violation and is wholly consistent with
3
     existing precedent, including that which stems from this Court’s previous rulings
4
     on Section 2 cases. See Cooper Decl. Ex. C-1, C-3. Like the plan adopted by the
5
     Court in Montes, it requires the immediate (as opposed to staggered)
6
     implementation of seven single-member districts. See Montes, 2015 WL
7

8    11120964, at *10.

9             Plaintiff’s proposed plan provides three majority Latino districts and one
10   “influence district” where Latinos will have the opportunity to elect representatives
11
     of their choice, consistent with their share of the Pasco voting population and
12
     Supreme Court precedent governing rough proportionality.7 Johnson, 512 U.S. at
13
     1000 (electoral scheme comports with Section 2 “where, in spite of continuing
14
     7
15       An influence district is one in which Latinos (or other minorities) are not a

16   majority of all voters, but have sufficient voting strength to occasionally affect the
17   outcome of the election in coalition with other voters. For example, in the 2014
18
     elections in the City of Yakima, voters in District 3 (25.2% LCVAP) elected a
19
     Latina candidate. Cooper Decl. at ¶¶42-47. See Mike Faulk, New Yakima City
20
     Council Finalized with Mendez Win, Yakima Herald (Nov. 5, 2015),
21

22   http://www.yakimaherald.com/news/elections/new-yakima-city-council-finalized-

23   with-mendez-win/article_4c4b3dc2-8452-11e5-a5bd-9b2fd02199ca.html.

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1    discrimination and racial bloc voting, minority voters form effective voting

2    majorities in a number of districts roughly proportional to the minority voters’
3
     respective shares in the voting-age population.”). Critically, Plaintiff’s remedial
4
     plan does not retain any at-large seats and therefore fully ends the dilutive effect on
5
     Latino vote power of racially polarized voting in at-large elections in Pasco.
6
     Finally, Plaintiff’s remedial plan also retains the flexibility necessary to ensure that
7

8    the Latino community is not shut out of any election for a seat on the City Council

9    for the foreseeable future and to respond to upcoming demographic shifts in the
10   City.8
11
     D.       The Court Should Immediately and Fully Implement the Remedial Map
12
              Plaintiff respectfully submits that the Court should implement the entire
13
     remedial map in advance of the upcoming 2017 City Council election.
14
     Specifically, the Court should order that all seven (7) City Council positions will
15

16   appear on the 2017 ballot. An effective remedy requires prompt implementation.

17   See Desena v. Maine, 793 F. Supp. 2d 456, 462 (D. Me. 2011) (“Constitutional

18   violations, once apparent, should not be permitted to fester; they should be cured at
19
     8
         Plaintiff’s proposed plan also complies with long-standing traditional redistricting
20
     principles governing judicial districting plans, including the requirement of
21

22   compactness and minimization of total population deviation. Cooper Decl. at

23   ¶¶26-55

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1    the earliest practicable date.”). Further, in cases where there has been a “long-

2    standing Section 2 violation, a broad electoral field only serves to assure that each
3
     citizen of voting age has the appropriate opportunity, under the new electoral
4
     scheme, to have his or her voice heard now.” Montes, 2015 WL 11120964, at *11.
5
           In fact, it is not uncommon for courts to order immediate special elections to
6
     ensure compliance with Section 2 upon finding a violation. See Neal v. Harris,
7

8    837 F.2d 632, 634 (4th Cir. 1987) (“The special election . . . is not a distinct

9    remedy. It is merely a vehicle for the immediate implementation of the remedy
10   provided in the court’s decree.”); Clark v. Roemer, 777 F. Supp. 471, 481 (M.D.
11
     La. 1991) (“‘[T]his Court and other District Courts have found that where a
12
     governing body has been elected under . . . an election scheme such as at-large
13
     elections, cancelling out the voting strength of a cognizable portion of the
14

15   populace, thus denying them access to the political process, prompt new elections

16   are appropriate.’” (quoting Wallace v. House, 377 F. Supp. 1192, 1201 (W.D. La.

17   1974)).
18         Full and immediate implementation of a new election system is necessary to
19
     remedy the Section 2 violation and to ensure that the Latino population has an
20
     equal opportunity to elect representatives of their choice to the City Council. This
21
     need is underscored by the City of Pasco’s admission that racially polarized voting
22

23   has previously locked Latinos out of its at-large elections and this Court’s findings

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1    supporting entry of the Consent Decree. Immediate implementation is also

2    supported by this Court’s order directing the Parties to submit briefing on a
3
     schedule that would “provide for effective opportunities for full participation in the
4
     2017 municipal election cycle[.]” Dkt. 16 at 11. Further, a lengthy process of
5
     implementing single-member districts—or any other type of election system—will
6
     perpetuate the unlawful system at the heart of this litigation. And if all counsel
7

8    seats are not up for election in 2017, Pasco voters will be confronted with a

9    confusing hodgepodge that will likely require some voters to wait years to elect a
10   councilmember from their particular geographic district.
11
           The City currently uses “staggered terms” for City Council position. If
12
     Plaintiff’s proposed remedial plan is implemented, Plaintiff has no objection to the
13
     City continuing this electoral practice. Preservation of a staggered-term system is
14

15   simple to accomplish, and how to do so is delineated by state law. For cities using

16   a council-manager form of government, such as Pasco, City Council positions are

17   elected for four-year terms “[e]xcept for the initial staggering of terms.” Wash.
18   Rev. Code § 35.18.020(2). That is, the first election run under a new voting
19
     system can utilize terms shorter than four years to accomplish the desired
20
     staggering.
21
           Here, Plaintiff proposes that the Court would accomplish “the initial
22

23   staggering of terms” by ordering that all City Council positions be up for election

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1    in 2017. Four positions would be elected to a four-year term of office. Three

2    positions would be elected to a two-year term of office, and would be up for
3
     reelection in 2019, this time for a four-year term. For the sake of administrative
4
     ease, Plaintiff’s proposed injunction would have odd-numbered and even-
5
     numbered positions designated for an initial four-year and two-year term,
6
     respectively. This is consistent with the initial staggering of terms mandated by
7

8    state law when a reorganization is adopted pursuant to statutory processes. See

9    Wash. Rev. Code § 35A.02.050.
10                            IV.       CONCLUSION
11         For the foregoing reasons Plaintiff respectfully requests that the Court reject
12
     Defendants’ proposed remedy and adopt Plaintiffs’ proposed remedial plan and
13
     injunction.
14
           DATED this 15th day of October, 2016.
15

16                                   /s/La Rond Baker
                                     Emily Chiang, WSBA No. 50517
17                                   echiang@aclu-wa.org
                                     La Rond Baker, WSBA No. 43610
18                                   lbaker@aclu-wa.org
                                     AMERICAN CIVIL LIBERTIES UNION OF
19
                                     WASHINGTON FOUNDATION
20                                   901 Fifth Avenue, Suite 630
                                     Seattle, Washington 98164
21                                   Telephone: (206) 624-2184

22                                   /s/Brendan V. Monahan
                                     Brendan V. Monahan, WSBA No. 22315
23                                   Brendan.Monahan@stokeslaw.com
24
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1                                 STOKES LAWRENCE VELIKANJE MOORE &
                                  SHORE
2                                 120 N. Naches Avenue
                                  Yakima, Washington 98901-2757
3                                 Telephone: (509) 853-3000

4                                 /s/Gregory Landis
                                  Gregory Landis, WSBA No. 29545
5
                                  glandis@yarmuth.com
6                                 Cristin Kent Aragon, WSBA No. 39224
                                  caragon@yarmuth.com
7                                 YARMUTH WILSDON PLLC
                                  1420 Fifth Avenue, Suite 1400
8                                 Seattle, Washington 98101
9                                 Telephone: (206) 516-3800

10                                Attorneys for Plaintiff, Bertha Aranda Glatt

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1                             CERTIFICATE OF SERVICE

2    I hereby certify that on October 15, 2016, I caused the foregoing document to be:

3          electronically filed with the Clerk of the Court using the CM/ECF system
           which will send notification of such filing to the following:
4
           Emily Chiang              echiang@aclu-wa.org
5          Brendan V. Monahan        Brendan.Monahan@stokeslaw.com
           Cristin Kent Aragon       caragon@yarmuth.com
6          Gregory Landis            glandis@yarmuth.com
           Leland Barrett Kerr       lkerr@kerrlawgroup.net
7          John A. Safarli           jsafarli@floyd-ringer.com

8
                                           /s/La Rond Baker
9                                          La Rond Baker, WSBA No. 43610
                                           lbaker@aclu-wa.org
10                                         AMERICAN CIVIL LIBERTIES UNION
                                           OF WASHINGTON FOUNDATION
11
                                           901 Fifth Avenue, Suite 630
12                                         Seattle, Washington 98164
                                           Telephone: (206) 624-2184
13

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